                     IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF ARIZONA

                                                  In Proceedings under Chapter 11
  In re:
                                                  Case No.

                                                  § 341 First Meeting of Creditors
                                                  Minute Sheet
                             Debtor   .           Date:

                                                  Time:
Debtor Present:     YES        NO         Presiding Officer: __________________________
Debtor’s Address: ___________________________________________________________
Appearance by Attorney for Debtor: ________________________________                  YES       NO
_________________________________________________ Present of Behalf of Debtor
Debtor Representative(s) Sworn and Examined?         YES      NO
Appearances:
       Name                                            Party Represented
1. ______________________________               ____________________________________
2. ______________________________               ____________________________________
3. ______________________________               ____________________________________
4. ______________________________               ____________________________________
5. ______________________________               ____________________________________
Related Cases: _______________________________________________________________
___________________________________________________________________________
Schedules Filed?     YES       NO If No, has Order been Entered Extending Time?            Y        N
If No, why have the Schedules not been filed? ______________________________________
____________________________________________________________________________
When will the Schedules be filed? ________________________________________________
   Concluded       Continued              Date: ______________________________________
                                          Time: ______________________________________
                                      Location: ______________________________________
    Dismiss for Failure to Appear and/or for Failure to File Schedules

Case 4:24-bk-05605-BMW      Doc 46 Filed 08/22/24 Entered 08/22/24 15:46:41            Desc
                            Main Document    Page 1 of 1
